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             EXHIBIT 1 
                      
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Date       Date Mailed Status Payee            Examiner Pay Code Pay Code Desc                 Amt Paid From Date To Date    Doc Type Bank Act Check Num Check Tot Check Cleared Check Cleared Date Payment Cmts Pmt Mthd Date Voided Payee Type
 1/13/2016             System Ciera Washington MEPERRY        102 Temporary Total Disability   $112.21 12/24/2015 12/30/2015 Check    30884018    1503378 $112.21 Yes                     1/20/2016              Check                Claimant
12/29/2015             System CIERA WASHINGTON MEPERRY        102 Temporary Total Disability   $150.00 12/24/2015 12/30/2015 Check    30884018    1498076 $150.00 Yes                      1/7/2016              Check                Claimant




              CONFIDENTIAL                                                                                                                                                                                                 DR 000100
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Tax ID        1099 Exempt Mailing Addr              Allocation Cmt Allocation Earn Code Lost Wrk Days Rcv'd Dte Postmark Invoice Amount Billed Vendor Int Ctl Num Reim Reim Code
000000000-000 No          Ciera Washington                                   1                      7                                $112.21           3.01551E+14 No
000000000-000 No          CIERA WASHINGTON                                   1                      5                                $150.00        0 3.01551E+14 No




             CONFIDENTIAL                                                                                                                                                          DR 000101
